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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


LIONEL SORRELLS,

                 Defendant-Petitioner,
                                                       Civil Case No. 05-70232
                                                       Criminal Case No. 02-80810
v.
                                                       HONORABLE DENISE PAGE HOOD
UNITED STATES OF AMERICA,

            Plaintiff-Respondent.
_______________________________________/

            MEMORANDUM OPINION AND ORDER DENYING PETITIONER’S
              MOTION TO VACATE SENTENCE UNDER 28 U.S.C. § 2255

I.        INTRODUCTION

          On February 13, 2003, Petitioner pled guilty to bank robbery, in violation of 18 U.S.C. §

2113(a), and discharge of a firearm during the subsequent police chase, in violation of 18 U.S.C. §

924(c). On November 20, 2003, the Court sentenced Petitioner to a 188-month term of incarceration

for the bank robbery and 120 months for discharging the firearm. Petitioner did not file a direct

appeal.

          This matter is currently before the Court on Petitioner’s Motion to Vacate Conviction Under

28 U.S.C. § 2255, filed January 24, 2005. Petitioner claims ineffective assistance of counsel resulted

in a denial of due process. Petitioner further alleges his Sixth Amendment trial by jury right was

violated because of facts used in connection with his sentencing. On March 18, 2005, Petitioner

filed a Motion to Amend his Petition to add a claim that his sentences should be concurrent and an

additional instance of allegedly ineffective assistance of counsel.

          For the reasons set forth below, the Court finds Petitioner’s arguments do not support
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vacating his sentence.

II.      STANDARD OF REVIEW

         A.     Ineffective Assistance of Counsel

         A claim of ineffective assistance of counsel is properly raised by a motion under 28 U.S.C.

§ 2255. United States v. Daniel, 956 F.2d 540, 543 (6th Cir. 1992) (“Ineffective assistance of

counsel claims are best brought by a defendant in a post-conviction proceeding under 28 U.S.C. §

2255 so that the parties can develop an adequate record on the issue.”); Massaro v. United States,

538 U.S. 500 (2003). Petitioner’s claim of ineffective assistance of counsel was appropriately

brought by filing the Motion presently before the Court under § 2255. United States v. Galloway,

316 F.3d 624, 634 (6th Cir. 2003).

         The Supreme Court set out the standards by which to judge an ineffective assistance of

counsel claim in Strickland v. Washington, 466 U.S. 668 (1984). First, Petitioner must show that

trial counsel’s performance was deficient. Id. at 687. Under the first prong, the standard for

attorney performance is “reasonably effective assistance.” Id. Petitioner must show that trial

counsel’s representation fell below an objective standard of reasonableness; the inquiry must focus

on “whether counsel’s assistance was reasonable considering all the circumstances.” Id. at 689; see

also, Campbell v. Coyle, 260 F.3d 531, 551 (6th Cir. 2001). The Strickland Court cautioned that “a

court must indulge a strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance; that is, the defendant must overcome the presumption that, under

the circumstances, the challenged action ‘might be considered sound trial strategy.’” Id. At 689,

citing, Michel v. Louisiana, 350 U.S. 91, 101 (1955). Second, Petitioner must show that the

deficient performance prejudiced the defense, which, but for the deficiency, the outcome of the


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proceedings would have been different. Strickland, 466 U.S. at 694.

       B.      The Right to a Trial by Jury

       On January 12, 2005, the Supreme Court issued a landmark opinion concerning the United

States Sentencing Guidelines. United States v. Booker, 125 S.Ct. 738 (2005). The Court addressed

whether the Sixth Amendment’s guarantee of a right to a trial by jury is violated when enhanced

sentences are imposed upon the sentencing judge’s determination of a fact that was not found by the

jury nor admitted by the defendant. Answering in the affirmative, the Court opined that the

Sentencing Guidelines are “advisory,” and that any fact necessary to support a sentence “exceeding

the maximum authorized by the facts” established by a guilty plea or a jury verdict must be either

“admitted by the defendant,” or “proved to a jury beyond a reasonable doubt.” The Court did not

hold the entire Sentencing Guidelines framework unconstitutional.

       Given the above, the Court’s next task was to determine the remedy for its holding. In

answering this question, the Court held that most of the provisions of the Sentencing Guidelines are

still valid. See, e.g., 18 U.S.C. § 3551 (authorizing sentences as probation, fine, or imprisonment);

18 U.S.C. § 3552 (providing for the preparation of presentence reports); 18 U.S.C. § 3554

(forfeiture); 18 U.S.C. § 3555 (notification to victims); 18 U.S.C. § 3583 (supervised release).

However, Booker did excise two sections of the Sentencing Guidelines. See 18 U.S.C. §§

3553(b)(1) and 3742(e). Section 3553(b)(1) provided the sentencing judge with an enhancement

provision allowing for a finding of aggravating or mitigating circumstances of a kind or degree not

adequately taken into consideration by the Sentencing Guidelines. The Supreme Court cautioned

that it did not “believe that every sentence gives rise to a Sixth Amendment violation. Nor . . . that

every appeal will lead to a new sentencing hearing. That is because we expect reviewing courts to


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apply ordinary prudential doctrines, determining, for example, whether the issue was raised below

and whether it fails the ‘plain error’ test.” Booker, 125 S.Ct. at 767.

III.   APPLICABLE LAW & ANALYSIS

       A.      Ineffective Assistance of Counsel

       The Court finds Petitioner cannot satisfy the second prong of the Strickland analysis.

Consideration of the first requirement is accordingly unnecessary. See Strickland, 466 U.S. at 697

(“[A] court need not determine whether counsel’s performance was deficient before examining the

prejudice suffered by the defendant.”). Petitioner is required to show that his trial counsel’s errors

actually prejudiced his defense. The requisite showing is that “there is a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.”

Hill v. Lockhart, 474 U.S. 52, 58-59 (1985). Petitioner bears this burden. Id. It is:

       [N]ot enough for the defendant to show that the errors had some conceivable effect
       on the outcome of the proceeding. Virtually every act or omission of counsel would
       meet that test, and not every error that conceivably could have influenced the
       outcome determines the reliability of the result of the proceeding.

Strickland, 466 U.S. at 693. What Petitioner must do, in accordance with Strickland, is “show that

there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694.

       Petitioner cannot meet this burden in this instance. Petitioner’s original counsel, John

Belanger, is the focus of Petitioner’s ineffective assistance claim. As part of the plea agreement

negotiated by Belanger, Petitioner stipulated to committing certain uncharged offenses and being

a career offender. Petitioner now claims he did not in fact commit these other offenses and that they

were inappropriately used to calculate his sentence.

       Petitioner does not refute his numerous admissions to the other offenses. Petitioner’s

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admissions came during his plea, grand jury testimony, and while in the Government’s custody.

Moreover, Section 1B1.2(c) of the United States Sentencing Guidelines specifically allows the

Government to avoid returning a separate indictment and entering a separate plea for each charge

if the defendant agrees to be sentenced as if he were convicted of the other crimes. Petitioner agreed

to such a course of action, and he cannot challenge it now under the guise of ineffective assistance

of counsel.

         The Court also notes that after Petitioner requested new counsel, and prior to pleading guilty,

the Court appointed Martin Beres as counsel. Beres recommended Petitioner plead guilty using the

same plea agreement negotiated by Belanger. Petitioner does not, however, assert Beres rendered

ineffective assistance of counsel. The Court denies Petitioner’s ineffective assistance of counsel

claim.

         B.     Trial by Jury

         The Supreme Court made it expressly clear that Booker only applies when the relevant

conduct has not been found by a jury or admitted to by the defendant. Booker, 125 S.Ct. at 756. In

this instance, Petitioner pled guilty to two offenses. The Court utilized only the information

admitted by Petitioner in his plea agreement and plea colloquy in fashioning a sentence. Booker is

therefore inapplicable and the Court finds Petitioner has not asserted a viable Sixth Amendment

violation.

         C.     Motion to Amend

         Petitioner filed a Motion to Amend his Section 2255 Motion on March 18, 2005. The

Motion to Amend seeks to add several additional bases for vacating Petitioner’s sentence. First,

Petitioner asserts his sentences should run concurrently. Second, Petitioner wishes the Court to


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consider another instance of allegedly ineffective assistance of counsel.

       Though Petitioner styles his Motion as one for amendment, it raises new and independent

issues for the Court to consider. To be properly before the Court, Petitioner was required to submit

all claims within the one year statute of limitations under 28 U.S.C. § 2255. Petitioner’s conviction

became final in January, 2004, making his original Section 2255 Motion timely. His Motion to

Amend was filed in March, 2005, well after the one year statute of limitations had run.

       The Court notes that the additional allegations contained in Petitioner’s Motion to Amend

would not provide a proper basis for granting his Section 2255 Motion, had they been timely in the

first place. Regarding the possibility of Petitioner’s sentences running concurrently, the United

States Code makes it expressly clear that such action is not permissible. With respect to Count II,

using, carrying, brandishing, or discharging a firearm during a crime of violence, “no term of

imprisonment imposed on a person under this subsection shall run concurrently with any other term

of imprisonment imposed on the person.” 18 U.S.C. § 924(c)(1)(D)(ii). Petitioner’s additional

ineffective assistance of counsel claim relates to his 10 year sentence under Section 924. The Court

finds his sentence was in accord with his plea agreement. There is no valid basis for challenging

the 10 year sentence.

IV.    CONCLUSION

       For the foregoing reasons, the Court denies Petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence and Motion to Amend.

       Accordingly,

       IT IS ORDERED that Petitioner’s Motion to Vacate Conviction Under 28 U.S.C. § 2255

[Docket No. 87, filed January 24, 2005] is DENIED.


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      IT IS FURTHER ORDERED that Petitioner’s Motion to Amend 2255 Motion [Docket No.

95, filed March 18, 2005] is DENIED.

      IT IS FURTHER ORDERED that this matter is DISMISSED.



                                               /s/ Denise Page Hood
                                             DENISE PAGE HOOD
                                             United States District Judge

DATED:     July 25, 2005




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